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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS



 MEYER GELFMAN, BORIS PARAD,                      Case No. 1:22-cv-05006
 and YELENA PARAD, individually and
 on behalf of all others similarly situated,      CLASS ACTION COMPLAINT

                Plaintiffs,                       DEMAND FOR JURY TRIAL

        v.

 ILLINOIS GASTROENTEROLOGY
 GROUP, P.L.L.C.,

                Defendant.



       Plaintiffs MEYER GELFMAN, BORIS PARAD, and YELENA PARAD, individually,

and on behalf of all others similarly situated (“Plaintiffs”), through their undersigned attorney,

bring this action against Defendant Illinois Gastroenterology Group, P.L.L.C. (“Defendant”) and

allege upon personal knowledge as to their own actions and experiences, and upon information

and belief as to all other matters, as follows:

                                         INTRODUCTION

       1.      Defendant solicited, collected, digitized, aggregated, stored, and failed and refused

to protect approximately 227,943 of its patients’ sensitive personally identifiable and health

information from known cyber threats, including their name, address, date of birth, Social Security

number, driver’s license, Passport, financial account information, payment card information,

employer-assigned identification number, medical information, and biometric data (“PII/PHI”).

       2.      Defendant failed to comply with regulatory, ethical, and industry standards for

cybersecurity and confidentiality of patient records, failed to take the most basic security measures
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such as encryption of data and destruction of obsolete data, and failed to prevent, detect, and

adequately respond to a foreseeable data breach carried out by cyber criminals. As a result,

criminals gained access to, copied, and stole Plaintiffs’ and Class members’ PII/PHI (the “Data

Breach”).

        3.      Although Defendant learned of the Data Breach on or before November 18, 2021,

it unreasonably delayed notifying Plaintiffs and Class members for 5 months, giving the criminals

a head start to commit identity fraud, theft, and wreak havoc to Plaintiffs’ and Class members’

personal finances, identities, and accounts.

        4.      After an unreasonably long silence, on April 22, 2022, Defendant sent letters to

Plaintiffs and Class members notifying them of the Data Breach and provided the legally required

notification to the authorities.

        5.      As a direct result of the Data Breach, Plaintiffs and Class members have suffered

numerous actual and concrete injuries and will suffer additional injuries into the future. Plaintiffs

seek damages and other legal and equitable relief for the following categories of harms: (a)

invasion of privacy; (b) financial costs incurred mitigating the imminent risk of identity theft; (c)

loss of time and loss of productivity incurred mitigating the imminent risk of identity theft; (d) loss

of time and loss of productivity heeding Defendant’s warnings and following its instructions in

Defendant’s notice letter; (e) financial costs incurred due to actual identity theft; (f) the cost of

future identity theft monitoring; (g) loss of time incurred due to actual identity theft; (h) failure to

receive the benefit of the bargain when Defendant failed to provide adequate and reasonable

protection that caused the Data Breach; (i) deprivation of value of PII/PHI; and (j) statutory

damages.

        6.      Plaintiffs bring this class action against Defendant for its negligence, negligence



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per se, breach of implied contract, violation of the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 ILCS 505/1, et seq. (“ICFA”), violation of the Illinois Biometric

Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), and unjust enrichment. Plaintiffs seek

injunctive relief, declaratory relief, money damages, and all other relief as authorized in equity or

by law.

                                           THE PARTIES

          7.    Each Plaintiff is a citizen of Illinois with a residence in Cook County, Illinois.

          8.    Defendant is a professional limited liability company organized under Illinois law,

with its principal place of business in Lake County, Illinois.

                                    JURISDICTION AND VENUE

          9.    Subject matter jurisdiction arises under 28 U.S.C. § 1332(d). This is case is brought

as a class action with an amount in controversy in excess of $5 million, exclusive of interest and

costs, there are 100 or more proposed Class members, and at least one proposed Class member is

a citizen of a state different from Defendant. Defendant’s notice letter includes information

expressly for residents of the District of Columbia, Maryland, New Mexico, New York, North

Carolina, and Rhode Island, suggesting that Class members are citizens of different states from

Defendant.

          10.   This Court has personal jurisdiction over Defendant because Defendant transacts

business in Illinois, committed tortious acts in Illinois, contracted with Plaintiffs and Class

members to provide reasonable data security in Illinois, is organized under the laws of Illinois, and

has its principal place of business in Illinois and is at home in Illinois.

          11.   Venue is proper in this District because the acts and omissions giving rise to this

action occurred in this District.



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                                  FACTUAL ALLEGATIONS

             Defendant’s Promises and Obligations Regarding Protection of PII/PHI

       12.      Defendant provides healthcare services to patients.

       13.      Plaintiffs and Class members obtained treatment from Defendant and were required

to provide Defendant with their PII/PHI in the course of receiving treatment.

       14.      Plaintiffs and Class members relied on Defendant, a licensed medical treatment

provider, to keep their PII/PHI confidential, secure, and to use it only for purposes of treatment

and billing for authorized treatment, and to implement and follow adequate and reasonable data

collection, storage, and retention policies. Defendant maintained and stored the PII/PHI on its

systems and networks that were inadequately protected and ultimately accessed without

authorization by criminals in the Data Breach.

       15.      Defendant owed Plaintiffs and Class members numerous statutory, regulatory,

ethical, contractual, and common law duties to safeguard and keep Plaintiffs’ and Class members’

PII/PHI confidential, safe, secure, and protected from unauthorized disclosure, access,

dissemination, and theft.

       16.      In its Privacy Policy, Defendant states that “We understand that your health

information is personal, and are committed to protecting your privacy and ensuring that your health

information is not used inappropriately.”1

                                        The Data Breach

       17.      Defendant’s data breach notification letter states that on October 22, 2021,

Defendant “discovered unusual activity within its computer network” caused by “malware” and

launched an investigation. On November 18, 2021, Defendant’s investigation determined that “on


1
  https://www.illinoisgastro.com/uploads/Notice_of_Privacy_Practices-3-13_2.pdf (last visited
September 2, 2022).
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or before October 20, 2021, an unauthorized actor gained access to certain IGG systems and that

information contained in those systems may have been viewed or taken by the unauthorized actor.”

See Notice of Security Incident Letter, attached hereto as Exhibit 1.

       18.     The notice letter does not include details regarding the length of the Data Breach.

According to the United States Department of Health and Human Services breach portal, the Data

Breach resulted in the theft of PII/PHI of 227,943 patients.

       19.     On or about April 22, 2022, Defendant finally sent notification letters to Plaintiffs

and Class members after failing to provide any notice to them for 5 months for no good reason.

       20.     In the notification, Defendant advises Plaintiffs and Class members to take steps to

“protect your information.” Defendant encourages Plaintiffs and Class members “to remain

vigilant against incidents of identity theft and fraud by reviewing your account statements and

credit reports for suspicious activity,” and Defendant provides a document entitled “Steps You

Can Take to Protect Personal Information.” See Exhibit 1.

       21.     Currently, the full extent of the types of sensitive personal information, the scope

of the Data Breach, and the details regarding how the Data Breach was carried out are all within

the control of Defendant and its agents, counsel, and forensic security vendors at this phase of the

litigation. However, in a separate notice regarding the Data Breach, Defendant stated that the

following information maintained by Defendant in its systems was impacted in the Data Breach:

name, address, date of birth, Social Security number, driver’s license, Passport, financial account

information, payment card information, employer-assigned identification number, medical

information, and biometric data. See Defendant’s Data Breach Notice, attached as Exhibit 2.

Plaintiffs and Class members are aware that the type of data set published now provides a one-stop

shop for identity thieves to wreak complete havoc on their lives. Given the sensitivity of the



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information involved (such as Social Security numbers and medical information), Plaintiffs and

Class members have all experienced a materialized and imminent risk of identity theft.

       22.     Cybersecurity experts have concluded that the kind of information taken in the Data

Breach “would make it possible for malicious actors to carry out phishing attacks, social

engineering, or even identity theft and bank fraud.”2

       23.     The PII/PHI that was exfiltrated in the Data Breach was held in unencrypted form

by Defendant, and included Plaintiffs’ and Class members’ PII/PHI.

                                The Data Breach Was Preventable

       24.     Defendant could have prevented the Data Breach by properly securing and

encrypting the PII/PHI of Plaintiffs and Class members, by properly training its employees to

recognize and prevent cybersecurity risks, and/or by implementing and following adequate

procedures to monitor and detect data breaches. Defendant’s negligence in safeguarding the

PII/PHI of Plaintiffs and Class members was exacerbated by the repeated warnings and alerts

directed to U.S. companies warning that they should protect and secure sensitive data, especially

in light of the substantial increase in cyberattacks specifically targeting healthcare providers.

                                The Data Breach Was Foreseeable

       25.     The FBI has been warning healthcare providers, such as Defendant, about the threat

posed by the ransomware and others, and to be on the lookout for attacks.

       26.     The United States Cybersecurity & Infrastructure Security Agency, Department of

Justice, and Department of Health & Human Services issued a Joint Cybersecurity Advisory as

early as on October 28, 2020, warning of an acute threat to U.S. hospitals and healthcare providers



2
 https://www.bleepingcomputer.com/news/security/engineering-firm-parker-discloses-data-
breach-after-ransomware-attack/amp/ (last visited May 19, 2022).

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and advising them on how to “ensure that they take timely and reasonable precautions to protect

their networks from these threats.”3 The Advisory details at great length the pathways of specific

viruses, malware, and online threats, and lists numerous Mitigation Steps, including:

                     Patch operating systems, software, and firmware as soon as manufacturers

                      release updates;

                     Check configurations for every operating system version for organization-

                      owned assets to prevent issues from arising that local users are unable to fix

                      due to having local administration disabled;

                     Regularly change passwords to network systems and accounts and avoid

                      reusing passwords for different accounts;

                     Use multi-factor authentication where possible;

                     Disable unused remote access/remote desktop protocol (RDP) ports and

                      monitor remote access/RDP logs;

                     Implement application and remote access allow listing to only allow

                      systems to execute programs known and permitted by the established

                      security policy;

                     Audit user accounts with administrative privileges and configure access

                      controls with least privilege in mind;

                     Audit logs to ensure new accounts are legitimate;

                     Scan for open or listening ports and mediate those that are not needed;

                     Identify critical assets such as potential database servers, medical records,


3
  https://www.cisa.gov/uscert/sites/default/files/publications/AA20-
302A_Ransomware%20_Activity_Targeting_the_Healthcare_and_Public_Health_Sector.pdf
(last visited July 20, 2022).
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                      and telehealth and telework infrastructure; create backups of these systems

                      and house the backups offline from the network;

                     Implement network segmentation. Sensitive data should not reside on the

                      same server and network segment as the email environment;

                     Set antivirus and anti-malware solutions to automatically update; conduct

                      regular scans.

       27.    In addition, the advisory emphasizes a focus on awareness and training. Because

end users are targeted, employees need to be aware of threats and how they are delivered.

       28.    On information and belief, the hackers who carried out the Data Breach used

rudimentary tactics for deploying malware on data rich systems, such as basic phishing emails.

Such attacks are entirely preventable through proper training of employees to recognize phishing

emails in combination with industry standard security measures such as required two-factor or

multi-factor authentication to access email accounts and/or other computer systems.

       29.    Even with a successful initial infection vector through basic phishing techniques,

the Data Breach could have been identified and halted quickly had Defendant implemented widely

available software capable of fully detecting and preventing the Data Breach.

       30.    Despite the well-known risks and reasonable and effective protections, Defendant

inexplicably failed to properly train employees, failed to implement industry standard security

measures, and maintained highly sensitive patient information in a manner it knew or should have

known was vulnerable to access and exfiltration.

       31.    Despite the prevalence of public announcements of these data breach and data

security compromises and despite numerous attempts on the part of the federal government to

inform companies like Defendant of the threats facing Defendant, and despite ample time to


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implement precautions and training, Defendant was negligent and did not adequately prepare for

this wholly foreseeable event.

       32.     As a result, Defendant allowed extremely sensitive data to be accessed, viewed and

stolen by the criminals. Defendant breached its duty to take appropriate steps to protect Plaintiffs’

and Class members’ PII/PHI from being compromised and failed to adequately notify them that

the Data Breach took place.

       33.     Unfortunately for Plaintiffs and Class members, their PII/PHI was not secured in

the manner required by law that would have prevented the Data Breach.

       34.     What is worse, despite Defendant’s obligations under the law to promptly notify

affected individuals so they can take appropriate action, Defendant failed to promptly provide such

notice in the most expedient time possible and without unreasonable delay, failed to include in the

Data Breach notification letter a sufficient description of the Data Breach or the information

needed by Plaintiffs and Class members to react appropriately to the Data Breach, including taking

whatever mitigation measures are necessary.

       35.     As a result, this unauthorized access, disclosure, and exfiltration remains

unremedied, and as detailed below the “cure” offered by Defendant to address these failures after

the fact was wholly inadequate.

       36.     Defendant had specific obligations imposed on it by contracts and law to ensure the

adequate protection of such information. For example, as a covered entity under HIPAA,

Defendant was required to maintain the confidentiality and security of the PII/PHI of its patients.

                                  Defendant’s HIPAA Violations

       37.     Defendant is regulated by the Health Insurance Portability and Accountability Act

(“HIPAA”) (45 C.F.R. § 160.102), and is required to comply with the HIPAA Privacy Rule and



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Security Rule, 45 C.F.R. Part 160 and Part 164, Subparts A and E (“Standards for Privacy of

Individually Identifiable Health Information”), and Security Rule (“Security Standards for the

Protection of Electronic Protected Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts

A and C, which establish national security standards and duties for Defendant’s protection of

medical information maintained in electronic form.

       38.     HIPAA requires Defendant to “comply with the applicable standards,

implementation specifications, and requirements” of HIPAA “with respect to electronic protected

health information.” 45 C.F.R. § 164.302.

       39.     “Electronic protected health information” is defined as “individually identifiable

health information ... that is (i) transmitted by electronic media; maintained in electronic media.”

45 C.F.R. § 160.103.

       40.     HIPAA’s Security Rule requires Defendant to: (a) ensure the confidentiality,

integrity, and availability of all electronic protected health information the covered entity or

business associate creates, receives, maintains, or transmits; (b) protect against any reasonably

anticipated threats or hazards to the security or integrity of such information; (c) protect against

any reasonably anticipated uses or disclosures of such information that are not permitted; and (d)

ensure compliance by its workforce.

       41.     HIPAA also requires Defendant to “review and modify the security measures

implemented ... as needed to continue provision of reasonable and appropriate protection of

electronic protected health information,” 45 C.F.R. § 164.306(c), and also to “[i]mplement

technical policies and procedures for electronic information systems that maintain electronic

protected health information to allow access only to those persons or software programs that have

been granted access rights.” 45 C.F.R. § 164.312(a)(1).



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       42.       The facts of the Data Breach establish that Defendant failed to comply with these

Rules. The Data Breach resulted from a combination of inadequacies that demonstrate Defendant

failed to comply with safeguards mandated by HIPAA regulations, including, but not limited to,

the following:

                 (a)    Failing to ensure the confidentiality and integrity of electronic PHI that

                        Defendant creates, receives, maintains, and transmits, in violation of 45

                        C.F.R. section 164.306(a)(1);

                 (b)    Failing to implement technical policies and procedures for electronic

                        information systems that maintain electronic PHI to allow access only to

                        those persons or software programs that have been granted access rights, in

                        violation of 45 C.F.R. section 164.312(a)(1);

                 (c)    Failing to implement policies and procedures to prevent, detect, contain,

                        and correct security violations, in violation of 45 C.F.R. section

                        164.308(a)(1);

                 (d)    Failing to identify and respond to suspected or known security incidents and

                        mitigate, to the extent practicable, harmful effects of security incidents that

                        are known to the covered entity, in violation of 45 C.F.R. section

                        164.308(a)(6)(ii);

                 (e)    Failing to protect against any reasonably-anticipated threats or hazards to

                        the security or integrity of electronic PHI, in violation of 45 C.F.R. section

                        164.306(a)(2);

                 (f)    Failing to protect against any reasonably anticipated uses or disclosures of

                        electronic PHI that are not permitted under the privacy rules regarding



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                        individually identifiable health information, in violation of 45 C.F.R.

                        section 164.306(a)(3);

               (g)      Failing to ensure compliance with HIPAA security standard rules by its

                        workforce, in violation of 45 C.F.R. section 164.306(a)(4);

               (h)      Impermissibly and improperly using and disclosing PHI that is and remains

                        accessible to unauthorized persons, in violation of 45 C.F.R. section

                        164.502, et seq.;

               (i)      Failing to effectively train all members of its workforce (including

                        independent contractors) on the policies and procedures with respect to PHI

                        as necessary and appropriate for the members of its workforce to carry out

                        their functions and to maintain security of PHI, in violation of 45 C.F.R.

                        sections 164.530(b) and 164.308(a)(5); and

               (j)      Failing to design, implement, and enforce policies and procedures

                        establishing physical and administrative safeguards to reasonably safeguard

                        PHI in compliance with 45 C.F.R. section 164.530(c).

                     Defendant Violated Federal Trade Commission Guidelines

       43.     Defendant also violated the duties applicable to it under the Federal Trade

Commission Act (15 U.S.C. § 45, et seq.) from engaging in “unfair or deceptive acts or practices

in or affecting commerce.” The FTC, pursuant to that Act, has concluded that a company’s failure

to maintain reasonable and appropriate data security for sensitive personal information is an

“unfair practice” in violation of the FTC Act.

       44.     As established by these laws, Defendant owed a duty to Plaintiffs and Class

members to exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting, and



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protecting the medical information in its possession from being compromised, lost, stolen,

accessed, and misused by unauthorized persons. Defendant also owed a duty to Plaintiffs and Class

members to provide reasonable security in compliance with industry standards and state and

federal requirements, and to ensure that its computer systems, networks, and protocols adequately

protected this medical information and were not exposed to infiltration. This also included a duty

to Plaintiffs and Class members to design, maintain, and test its computer systems to ensure that

the PII/PHI was adequately secured and protected; to create and implement reasonable data

security practices and procedures to protect the PII/PHI through processes such as phishing,

including adequately training employees and others who accessed information within its systems

on how to adequately protect this information and avoid permitting such infiltration such as by use

of multi-factor authentication; to implement processes that would detect a breach of its data

security systems in a timely manner and to act upon data security warnings and alerts in a timely

fashion; to disclose if its computer systems and data security practices were inadequate to

safeguard individuals’ PII/PHI from theft; and to disclose in a timely and accurate manner when

data breaches occurred.

       45.     Defendant also needed to segment data by, among other things, creating firewalls

and access controls so that if one area of Defendant’s network is compromised, hackers cannot

gain access to other portions of Defendant’s systems. It is apparent that Defendant did not do so.

       46.     Defendant owed these duties to Plaintiffs and Class members because they were

foreseeable and probable victims of any inadequate data security practices. Defendant

affirmatively chose to design these systems with inadequate user authentication, security protocols

and privileges, and set up faulty patching and updating protocols. These affirmative decisions

resulted in criminals successfully carrying out a cyberattack and exfiltrating Plaintiffs’ and Class



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members’ PII/PHI, to the injury and detriment of Plaintiffs and Class members. By taking

affirmative acts inconsistent with these obligations that left Defendant’s computer systems

foreseeably vulnerable to criminals, Defendant disclosed and/or permitted the disclosure of

PII/PHI to unauthorized third parties. Defendant thus failed to preserve the confidentiality of

PII/PHI it was duty-bound to protect.

                          Value of Personally Identifiable Information

       47.     The PII/PHI of individuals remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials. For example, personal information can be sold at a price ranging from $40 to

$200, and bank details have a price range of $50 to $200.4 Experian reports that a stolen credit or

debit card number can sell for $5 to $110 on the dark web.5 Criminals can also purchase access to

entire company data breaches from $900 to $4,500.

       48.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses that the loss of an

individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

               A dishonest person who has your Social Security number can use it to get
               other personal information about you. Identity thieves can use your number
               and your good credit to apply for more credit in your name. Then, they use
               the credit cards and don’t pay the bills, it damages your credit. You may not

4
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
dark-web-how-much-it-costs/ (last accessed Jan. 17, 2022).
5
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed Jan. 17, 2022).

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               find out that someone is using your number until you’re turned down for
               credit, or you begin to get calls from unknown creditors demanding
               payment for items you never bought. Someone illegally using your Social
               Security number and assuming your identity can cause a lot of problems. 6

       49.     It is incredibly difficult to change or cancel a stolen Social Security number. An

individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

       50.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.”7

       51.     Medical identity theft is one of the most common, most expensive, and most

difficult-to-prevent forms of identity theft.

       52.     Indeed, a robust cyber black market exists in which criminals post stolen medical

information, PII/PHI on multiple underground internet websites, commonly referred to as the dark

web, to create fake insurance claims, purchase and resell medical equipment, or access

prescriptions for illegal use or resale. According to a 2017 Javelin strategy and research

presentation, fraudulent activities based on data stolen in data breaches that are between two and



6
 Identity Theft and Your Social Security Number, Social Security Administration, available at:
https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Jan. 13, 2021).
7
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-
s-hackers-has-millionsworrying-about-identity-theft (last accessed Jan. 17, 2022).

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six years old had increased by nearly 400% over the previous four years.8 Thus, an offer of credit

monitoring service that is only for one year is not an adequate remedy or offer, even if it conducts

dark web scanning (which is unclear here).

       53.     According to Experian, one of the three major credit bureaus, medical records can

be worth up to $1,000 per person on the dark web, depending upon completeness.9 PII/PHI can be

sold at a price ranging from approximately $20 to $300.10

       54.     In this case, all evidence indicates that Plaintiffs and Class members’ PII/PHI was

left unprotected, to be exfiltrated and sold on the dark web. Thus, this highly valuable data was

left to be pilfered by criminals or reviewed by anyone with an Internet connection.

       55.     Medical identity theft can also result in inaccuracies in medical records and costly

false claims. It can also have life-threatening consequences since if a victim’s health information

is mixed with other records, it can lead to misdiagnosis or mistreatment. “Medical identity theft is

a growing and dangerous crime that leaves its victims with little to no recourse for recovery,”

reported Pam Dixon, executive director of World Privacy Forum. “Victims often experience

financial repercussions and worse yet, they frequently discover erroneous information has been

added to their personal medical files due to the thief’s activities.”11




8
  See, Brian Stack, Here’s How Much Your Personal Information is Selling for on the Dark
Web (2017) https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-
information-is-selling-for-on-the-dark-web/ (last accessed 5/23/22).
9
  Id.
10
   https://www.privacyaffairs.com/dark-web-price-index-2021/
11
   Michael Ollove, “The Rise of Medical Identity Theft in Healthcare,” Kaiser Health News,
(2/7/14), https://khn.org/news/rise-of-indentity-theft/ (last accessed 5/3/22); See also, Medical
Identity Theft in the New Age of Virtual Healthcare, IDX (March 15, 2021),
https://www.idx.us/knowledge-center/medical-identity-theft-in-the-new-age-of-virtual-
healthcare (last accessed 5/3/22).

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        56.     The Ponemon Institute found that medical identity theft can cost victims an average

of $13,500 to resolve per incident, and that victims often have to pay off the imposter’s medical

bills to resolve the breach.12

        57.     In another study by the Ponemon Institute in 2015, 31% of medical identity theft

victims lost their healthcare coverage as a result of the incident, while 29% had to pay to restore

their health coverage, and over half were unable to resolve the identity theft at all.13

        58.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, only credit card information in a retailer

data breach because, there, victims can cancel or close credit and debit card accounts. The

information compromised in this Data Breach, including Social Security numbers and names, is

impossible to “close” and difficult, if not impossible, to change.

        59.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained: “Compared to credit card information,

personally identifiable information and Social Security numbers are worth more than 10x on the

black market.”14

        60.     Among other forms of fraud, identity thieves may obtain driver’s licenses,




12
   Brian O’Connor, Healthcare Data Breach: What to Know About Them and What to Do After
One, Experian (June 14, 2018), https://www.experian.com/blogs/ask-experian/healthcare-data-
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government benefits, medical services, and housing or even give false information to police.

         61.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         62.   There may be a time lag between when harm occurs versus when it is discovered,

and also between when PII/PHI is stolen and when it is used. According to the U.S. Government

Accountability Office (“GAO”), which conducted a study regarding data breaches:

               [L]aw enforcement officials told us that in some cases, stolen data may be
               held for up to a year or more before being used to commit identity theft.
               Further, once stolen data have been sold or posted on the Web, fraudulent
               use of that information may continue for years. As a result, studies that
               attempt to measure the harm resulting from data breaches cannot necessarily
               rule out all future harm.15

         63.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII/PHI of Plaintiffs and Class members, including Social Security

numbers, and of the foreseeable consequences that would occur if Defendant’s data security

system was breached, including, specifically, the significant costs that would be imposed on

Plaintiffs and Class members as a result of a breach.

         64.   Plaintiffs and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. Plaintiffs and the Class are incurring

and will continue to incur such damages in addition to any fraudulent use of their PII/PHI.

         65.   Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s storage platform, amounting to hundreds of thousands

of individuals’ detailed, personal information and, thus, the significant number of individuals who



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  Report to Congressional Requesters, GAO, at 29 (June 2007), available at: https://www.gao.
gov /assets/gao-07-737.pdf (last accessed Jan. 17, 2022).

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would be harmed by the exposure of the unencrypted data.

       66.     To date, Defendant has offered Plaintiffs and Class members only one year of

identity theft detection services. The offered service is wholly inadequate to protect Plaintiffs and

Class members from the threats they face for years to come, particularly in light of the PII/PHI at

issue here, and is not an adequate cure of the Data Breach.

       67.     Specifically, Defendant did not prevent the criminals from disclosing Plaintiffs’

and Class members’ PII/PHI on the Internet. Defendant has not and cannot retrieve the PII/PHI

taken from its systems. Thus, that PII/PHI remains in circulation on the Internet for access,

viewing, and misuse, causing damage to Plaintiffs and Class members and breaching their

confidentiality.

       68.     Defendant has not provided sufficient information in its Data Breach notice letter

such that Plaintiffs and Class members could understand and appreciate the full nature of the risk

to them caused by Defendant’s Data Breach, allowing them to make informed decisions about how

to protect themselves and their PII/PHI.

       69.     Defendant has not provided credit monitoring and identity theft protection to

Plaintiffs and Class members for a long enough period of time, limiting the bulk of the protection

services to one year even though their PII/PHI may be used for years after that.

       70.     Defendant’s offer of TransUnion credit monitoring and identity theft protection

does not prevent fraudulent transactions, such as unauthorized credit card charges or exchanges of

Plaintiffs’ and Class members’ PII/PHI on the dark web from occurring using the PII/PHI

disclosed by Defendant. Neither can it prevent misuse of biometric information.

       71.     Additionally, Defendant has not taken the actions necessary and recommended by

the FBI, CISA, NSA and other experts detailed above to prevent an attack by criminals, leaving



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Plaintiffs and Class members vulnerable to subsequent breaches of their PII/PHI held by

Defendant.

       72.     The injuries to Plaintiffs and Class members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII/PHI

of Plaintiffs and Class members.

                                PLAINTIFFS’ EXPERIENCES

       73.     Plaintiffs each received healthcare from Defendant. As a condition of obtaining

treatment, each Plaintiff provided their PII/PHI to Defendant with the reasonable expectation that

Defendant would maintain such information in a secure manner, would implement reasonable data

retention policies, and would only use their PII/PHI for legitimate business purposes.

       74.     Defendant expressly and impliedly promised to safeguard each Plaintiff’s PII/PHI.

Defendant assumed obligations to Plaintiffs, and Plaintiffs relied on Defendant to safeguard their

PII/PHI and only to utilize it for legitimate business purposes. Defendant, however, did not take

proper care of Plaintiffs’ PII/PHI, leading to its exposure as a direct result of Defendant’s

inadequate security measures and negligent data retention policies. Had Plaintiffs known their

PII/PHI would be insufficiently protected from known cyberthreats, Plaintiffs would not have

disclosed the information to Defendant and would not have paid as much as they did for the

healthcare services they bargained to receive––of which confidentiality was a material term.

       75.     On or about April 22, 2022, each Plaintiff received notice from Defendant that their

PII/PHI had been improperly accessed and/or obtained by unauthorized third parties. This notice

indicated that each Plaintiffs’ PII/PHI was accessed in the Data Breach.

       76.     As a result of the Data Breach, Plaintiffs made reasonable efforts to mitigate the

impact of the Data Breach, including but not limited to: researching the Data Breach; reviewing



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financial, healthcare, and other accounts for any indications of actual or attempted identity theft or

fraud. Plaintiffs have spent time and energy dealing with the Data Breach––valuable time Plaintiffs

otherwise would have spent on other activities––including but not limited to work or recreation.

       77.     As a result of the Data Breach, Plaintiffs have suffered anxiety as a result of the

release of their PII/PHI, which they reasonably believed would be protected from unauthorized

access and disclosure, including anxiety about unauthorized parties viewing, selling, and using

their PII/PHI for purposes of identity theft and fraud. Plaintiffs are very concerned about identity

theft and fraud, as well as the consequences of such identity theft and fraud resulting from the Data

Breach.

       78.     Plaintiffs suffered actual injury from having their PII/PHI compromised as a result

of the Data Breach including, but not limited to (a) damage to and diminution in the value of

PII/PHI, a form of property that Defendant obtained from Plaintiffs; (b) violation of privacy rights;

(c) loss of the benefit of bargained for data security protections; and (d) present, imminent and

impending injury arising from the increased risk of identity theft and fraud.

       79.     As a result of the Data Breach, Plaintiffs anticipate spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. As a

result of the Data Breach, Plaintiffs are at a present risk and will continue to be at increased risk

of identity theft and fraud for years to come.

                               CLASS ACTION ALLEGATIONS
       80.     Plaintiffs seek to certify the following class pursuant to Fed. R. Civ. P. 23:

               All persons whose PII/PHI was accessed by unauthorized persons in the
               Data Breach.

       81.     Excluded from the Class are Defendant and Defendant’s officers and directors; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

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attorneys, successors, heirs, and assigns of Defendant. Excluded also from the Class are members

of the judiciary to whom this case is assigned, their immediate families, and members of their staff.

       82.     Plaintiffs reserve the right to amend or modify the Class definition and/or create

additional subclasses as this case progresses.

       83.     Numerosity. The members of the Class are so numerous that joinder of all of them

is impracticable. While the exact number of Class members is unknown to Plaintiffs at this time,

Plaintiffs believe that the Class consists of approximately 227,943 persons based on Defendant’s

report to the Department of Health & Human Services.

       84.     Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class members. These common

questions of law and fact include, without limitation:

               a.      Whether Defendant unlawfully used, maintained, lost, or disclosed

                       Plaintiffs’ and Class members’ PII/PHI;

               b.      Whether Defendant failed to implement and maintain reasonable security

                       procedures and practices appropriate to the nature and scope of the

                       information compromised in the Data Breach;

               c.      Whether Defendant’s data security systems prior to and during the Data

                       Breach complied with applicable data security laws and regulations;

               d.      Whether Defendant’s data security systems prior to and during the Data

                       Breach were consistent with industry standards;

               e.      Whether Defendant owed a duty to Class members to safeguard their

                       PII/PHI;




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              f.     Whether Defendant breached its duty to Class members to safeguard their

                     PII/PHI;

              g.     Whether Defendant knew or should have known that its data security

                     systems and monitoring processes were deficient;

              h.     Whether Defendant should have discovered the Data Breach sooner;

              i.     Whether Plaintiffs and Class members suffered legally cognizable damages

                     as a result of Defendant’s misconduct;

              j.     Whether Defendant’s conduct was negligent;

              k.     Whether Defendant’s acts, inactions, and practices complained of herein

                     breached express or implied contracts with Plaintiffs and Class members;

              l.     Whether Defendant violated the Illinois Consumer Fraud and Deceptive

                     Business Practices Act;

              m.     Whether Defendant violated the Illinois Biometric Information Privacy Act;

              n.     Whether Defendant was unjustly enriched by unlawfully retaining a benefit

                     conferred upon it by Plaintiffs and Class members; and;

              o.     Whether Plaintiffs and Class members are entitled to damages, punitive

                     damages, treble damages, statutory damages, and/or injunctive or other

                     equitable relief.

       85.    Typicality. Plaintiffs’ claims are typical of those of other Class members because

Plaintiffs’ information, like that of every other Class member, was compromised in the Data

Breach.




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        86.     Adequacy of Representation. Plaintiffs will fairly and adequately represent and

protect the interests of the members of the Class. Plaintiffs’ counsel is competent and experienced

in litigating class actions.

        87.     Predominance. Defendant has engaged in a common course of conduct toward

Plaintiffs and Class members, in that all of Plaintiffs’ and Class members’ PII/PHI was stored on

the same computer network and unlawfully accessed in the same way. The common issues arising

from Defendant’s conduct affecting Class members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        88.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class members would create a risk of inconsistent or varying adjudications with respect to

individual Class members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class member.

        89.     Defendant has acted on grounds that apply generally to the Class as a whole, so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a class-

wide basis.




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                                            COUNT I
                                           Negligence
                              (On Behalf of Plaintiffs and the Class)

          90.   Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set forth

herein.

          91.   As a condition of obtaining treatment, Plaintiffs and Class members provided

Defendant with their PII/PHI.

          92.   Plaintiffs and Class members entrusted their PII/PHI to Defendant with the

understanding and relying upon Defendant to exercise reasonable care in the protection of their

PII/PHI.

          93.   Defendant had a duty to take reasonable measures to protect the PII/PHI of

Plaintiffs and Class members from unauthorized disclosure to third parties. This duty is inherent

in the nature of the exchange of highly sensitive personal information in connection with the

patient-physician relationship.

          94.   Defendant has full knowledge of the sensitivity of the PII/PHI and the types of harm

that Plaintiffs and Class members could and would suffer if the PII/PHI were wrongfully disclosed

in a Data Breach.

          95.   Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, using, and retaining of the PII/PHI of Plaintiffs and Class members,

without adequate data security, involved an unreasonable risk of harm to Plaintiffs and Class

members.

          96.   Defendant had a duty to exercise reasonable care in safeguarding, securing,

retaining, and protecting such information from being compromised, lost, stolen, misused, and/or

disclosed to unauthorized parties. This duty includes, among other things, design, configuring,


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maintaining, and testing Defendant’s security protocols to ensure that the PII/PHI of Plaintiffs and

Class members in Defendant’s possession was adequately secured and protected.

       97.     Defendant also had a duty to exercise appropriate practices to remove PII/PHI that

was no longer required.

       98.     Defendant had a duty to encrypt the sensitive PII/PHI it stored and maintained.

       99.     Defendant had a duty to segregate sensitive PII/PHI from other portions of its

network, such as by using firewalls.

       100.    Defendant had a duty to properly train employees to recognize phishing attempts

and other common data security risks.

       101.    Defendant also had a duty to implement and maintain procedures to detect and

prevent the improper access, exfiltration, and misuse of PII/PHI.

       102.    Defendant’s duty to use reasonable security measures arose as a result of the

relationship that existed between Defendant and Plaintiffs and Class members. Plaintiffs and Class

members entrusted Defendant with their confidential PII/PHI and relied upon Defendant to

implement adequate data security and reasonable data retention policies.

       103.    Defendant was subject to an independent duty arising out of the common law

between Defendant and Plaintiffs or Class members.

       104.    A breach of security, unauthorized access, and resulting injury to Plaintiffs and

Class members was reasonably foreseeable, particularly in light of Defendant’s inadequate

security practices, the detailed warnings published by governmental agencies, and news reports of

other data breaches.

       105.    Plaintiffs and Class members were the foreseeable and probable victims of

Defendant’s inadequate and unreasonable data security practices and procedures. Defendant knew



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or should have known of the inherent risks in collecting and storing the PII/PHI, the critical

importance of providing adequate security of that PII/PHI, the necessity for encrypting PII/PHI,

and the harm that can arise from retaining PII/PHI following the expiration of any legitimate

business purpose.

        106.    Defendant’s conduct created a foreseeable risk of harm to Plaintiffs and Class

members. Defendant solicited, collected, digitized, and aggregated Plaintiffs’ and Class members’

PII/PHI, failed to encrypt the PII/PHI, failed to implement other reasonable industry standard

measures to safeguard PII/PHI, and failed to implement retention policies that delete PII/PHI.

        107.    Plaintiffs and Class members had no ability to protect their PII/PHI that was in, and

remains in, Defendant’s possession, and no sign that Defendant was failing and refusing to

implement and maintain reasonable data security practices over their PII/PHI until they received

their notification letters.

        108.    Defendant was in a position to protect against the harm suffered by Plaintiffs and

Class members as a result of the Data Breach.

        109.    Defendant had and continues to have a duty to adequately disclose that the PII/PHI

might have been compromised, how it was compromised, and precisely the types of data that were

compromised and when. Such notice is necessary to allow Plaintiffs and the Class members to take

steps to prevent, mitigate, and repair any identity theft and the fraudulent use of their PII/PHI.

        110.    Defendant had a duty to employ proper procedures to prevent the unauthorized

disclosure and unauthorized sharing of the PII/PHI to criminals.

        111.    Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiffs and Class members by failing to implement and maintain industry-standard protocols




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and to exercise reasonable care in protecting and safeguarding the PII/PHI of Plaintiffs and Class

members.

       112.    Defendant improperly and inadequately safeguarded the PII/PHI of Plaintiffs and

Class members in violation of standard industry rules, regulations, and practices at the time of the

Data Breach.

       113.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiffs and Class members by failing to have appropriate procedures in place to detect and

prevent unauthorized dissemination of PII/PHI.

       114.    Defendant breached its duty to remove PII/PHI that it was no longer required to

retain pursuant to regulations.

       115.    Defendant breached its duty to encrypt PII/PHI and to segregate it from other

portions its network.

       116.    Defendant breached its duty to adequately train employees to recognize and avoid

phishing attempts and other basic cybersecurity risks.

       117.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiffs and Class members the existence and scope of the Data

Breach.

       118.    Defendant breached its duty to safeguard Plaintiffs’ and Class members’ PII/PHI

by failing to retain such information in an encrypted form.

       119.    But for Defendant’s wrongful and negligent breach of duties owed to Plaintiffs and

Class members, the PII/PHI of Plaintiffs and Class members would not have been compromised.

       120.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PII/PHI of Plaintiffs and Class members and the harm, or risk of



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imminent harm, suffered by Plaintiffs and Class members. The PII/PHI of Plaintiffs and Class

members was lost and accessed as the proximate result of Defendant’s failure to exercise

reasonable care in safeguarding such PII/PHI by adopting, implementing, and maintaining

appropriate security measures.

        121.      As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiffs and Class members are at a substantial, impending, and imminent risk of

identity theft, and they have been forced to take mitigation steps, thereby incurring costs, to ensure

their personal and financial safety.

        122.      As Defendant instructed, advised, and warned in its notice letters, Plaintiffs and

Class members must now closely monitor their financial accounts to guard against future identity

theft and fraud. Plaintiffs and Class members have heeded such warnings to mitigate against the

imminent risk of future identity theft and financial loss. Such mitigation efforts included, and will

include into the future, protective steps: e.g., reviewing financial statements, changing passwords,

and signing up for credit and identity theft monitoring services. The loss of time and other

mitigation costs are tied directly to guarding against and mitigating against the imminent risk of

identity theft.

        123.      As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiffs and Class members have suffered actual and concrete injuries and will suffer

addition injuries into the future, including economic and non-economic damages in the following

forms: (a) invasion of privacy; (b) financial costs incurred mitigating the imminent risk of identity

theft; (c) loss of time and loss of productivity incurred mitigating the imminent risk of identity

theft; (d) loss of time and loss of productivity heeding Defendant’s warnings and following its

instructions in the notice letter; (e) financial costs incurred due to actual identity theft; (f) the cost



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of future identity theft monitoring; (g) loss of time incurred due to actual identity theft; (h) loss of

time and annoyance due to increased targeting with phishing attempts and fraudulent robo-calls;

and (i) and diminution of value of their PII/PHI.

          124.   Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiffs

and Class members have suffered and will suffer the continued risks of exposure of their PII/PHI,

which remains in Defendant’s possession and is subject to further unauthorized disclosures so long

as Defendant fails to undertake appropriate and adequate measures to protect the PII/PHI in its

continued possession. Plaintiffs and Class members are, therefore, also seeking injunctive relief

for the continued risk to their PII/PHI, which remains in the possession of Defendant, and which

is subject to further breaches, so long as Defendant fails to undertake appropriate and adequate

measures to safeguard the PII/PHI.

          125.   As a direct and proximate result of Defendant’s negligence, Plaintiffs and Class

members are entitled to recover actual and punitive damages.

                                            COUNT II
                                        Negligence per se
                               (On Behalf of Plaintiffs and the Class)

          126.   Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set forth

herein.

          127.   Defendant violated HIPAA regulations, including by:

                       Failing to ensure the confidentiality and integrity of electronic PHI that

                        Defendant creates, receives, maintains, and transmits, in violation of 45

                        C.F.R. section 164.306(a)(1);

                       Failing to implement technical policies and procedures for electronic

                        information systems that maintain electronic PHI to allow access only to


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               those persons or software programs that have been granted access rights, in

               violation of 45 C.F.R. section 164.312(a)(1);

              Failing to implement policies and procedures to prevent, detect, contain,

               and correct security violations, in violation of 45 C.F.R. section

               164.308(a)(1);

              Failing to identify and respond to suspected or known security incidents and

               mitigate, to the extent practicable, harmful effects of security incidents that

               are known to the covered entity, in violation of 45 C.F.R. section

               164.308(a)(6)(ii);

              Failing to protect against any reasonably-anticipated threats or hazards to

               the security or integrity of electronic PHI, in violation of 45 C.F.R. section

               164.306(a)(2);

              Failing to protect against any reasonably anticipated uses or disclosures of

               electronic PHI that are not permitted under the privacy rules regarding

               individually identifiable health information, in violation of 45 C.F.R.

               section 164.306(a)(3);

              Failing to ensure compliance with HIPAA security standard rules by its

               workforce, in violation of 45 C.F.R. section 164.306(a)(4);

              Impermissibly and improperly using and disclosing PHI that is and remains

               accessible to unauthorized persons, in violation of 45 C.F.R. section

               164.502, et seq.;

              Failing to effectively train all members of its workforce (including

               independent contractors) on the policies and procedures with respect to PHI


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                        as necessary and appropriate for the members of its workforce to carry out

                        their functions and to maintain security of PHI, in violation of 45 C.F.R.

                        sections 164.530(b) and 164.308(a)(5); and,

                       Failing to design, implement, and enforce policies and procedures

                        establishing physical and administrative safeguards to reasonably safeguard

                        PHI in compliance with 45 C.F.R. section 164.530(c).

        128.    “Section 5 of the FTC Act [15 U.S.C. § 45] is a statute that creates enforceable

duties, and this duty is ascertainable as it relates to data breach cases based on the text of the statute

and a body of precedent interpreting the statute and applying it to the data beach context.” In re

Capital One Consumer Data Sec. Breach Litig., 488 F. Supp. 3d 374, 407 (E.D. Va. 2020). “For

example, in F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236, 240 (3d Cir. 2015), the United

States Court of Appeals for the Third Circuit affirmed the FTC’s enforcement of Section 5 of the

FTC Act in data breach cases.” Capital One, 488 F. Supp. 3d at 407.

        129.    Plaintiffs’ and Class members’ PII/PHI was and is nonpublic personal information

and customer information.

        130.    Plaintiffs and Class members are in the group of persons that HIPAA and the FTC

Act were enacted and implemented to protect, and the harms they suffered in the Data Breach as

a result of Defendant’s violations of HIPAA and the FTC Act were the types of harm the statutes

and regulations are designed to prevent.

        131.    As a direct and proximate result of Defendant’s numerous negligent acts and

omissions, Plaintiffs and Class members are at a substantial, impending, and imminent risk of

identity theft, and they have been forced to take mitigation steps, thereby incurring costs, to ensure

their personal and financial safety.



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          132.   As a direct and proximate result of the conduct of Defendant that violated HIPAA

and the FTC Act, Plaintiffs and Class members have suffered and will continue to suffer the

foreseeable economic and non-economic harms as described herein.

          133.   As a direct and proximate result of Defendant’s negligence, Plaintiffs and Class

members are entitled to recover actual and punitive damages.

                                           COUNT III
                                   Breach of Implied Contract
                               (On Behalf of Plaintiffs and the Class)

          134.   Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set forth

herein.

          135.   Defendant required Plaintiffs and Class members to provide their PII/PHI as a

condition of receiving treatment. In so doing, Plaintiffs and Class members entered into implied

contracts with Defendant wherein Defendant agreed to safeguard and protect such information, to

keep such information secure and confidential, and to timely and accurately notify Plaintiffs and

Class members if their PII/PHI had been breached and compromised or stolen.

          136.   Defendant further entered into an implied contract with Plaintiffs and the Class

members to honor its representations and assurances regarding protecting their PII/PHI.

          137.   Plaintiffs and Class members fully performed their obligations under implied

contracts with Defendant.

          138.   Defendant breached the implied contracts it made with Plaintiffs and Class

members by (i) failing to implement technical, administrative, and physical security measures to

protect the PII/PHI from unauthorized access or disclosure (such as encryption of Social Security

numbers) despite such measures being readily available, (ii) failing to limit access to the PII/PHI




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to those with legitimate reasons to access it, (iii) failing to store the PII/PHI only on servers kept

in a secure, restricted area, and (iv) otherwise failing to safeguard the PII/PHI.

        139.    As a direct and proximate result of Defendant’s breach of its implied contract,

Plaintiffs and Class members are at a substantial, impending, and imminent risk of identity theft,

and they have been forced to take mitigation steps, thereby incurring costs, to ensure their personal

and financial safety.

        140.    As a direct and proximate result of Defendant’s breach of implied contract,

Plaintiffs and Class members have suffered actual and concrete injuries and will suffer additional

injuries into the future, including economic damages in the following forms: (a) financial costs

incurred mitigating the imminent risk of identity theft; (b) loss of time and loss of productivity

incurred mitigating the imminent risk of identity theft; (c) loss of time and loss of productivity

heeding Defendant’s warnings and following its instructions in the notice letter; (d) financial costs

incurred due to actual identity theft; (e) the cost of future identity theft monitoring; (f) loss of time

incurred due to actual identity theft; (g) loss of time and annoyance due to increased targeting with

phishing attempts and fraudulent robo-calls, (h) failure to receive the benefit of their bargained for

data protection for which Plaintiffs and Class members paid a premium to Defendant; and (i)

diminution of value of their PII/PHI.

        141.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiffs and Class members are entitled to recover actual, consequential, and nominal

damages.




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                                         COUNT IV
        Violation of Illinois Consumer Fraud and Deceptive Business Practices Act,
                                   815 ILCS 505/1, et seq.
                            (On Behalf of Plaintiffs and the Class)

       142.     Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set

forth herein.

       143.     As a corporation that collects, handles, stores, and maintains patient information

that is nonpublic and personally identifiable information, Defendant is a data collector within the

meaning of 815 ILCS 530/5.

       144.     As a data collector, Defendant is required to implement and maintain reasonable

security measures to protect Plaintiffs’ and Class members’ PII/PHI from unauthorized access,

acquisition, destruction, use, modification, or disclosure. 815 ILCS 530/45.

       145.     Defendant breached these duties and the applicable standards of care by:

                      Failing to conduct proper and reasonable due diligence and oversight over

                       employees, agents, and vendors who access to PII/PHI and their data

                       security systems, practices, and procedures;

                      Failing to conduct proper and reasonable due diligence over the employees,

                       agents, and vendors who were the vector(s) of and/or facilitated the hackers’

                       infiltration into the system(s) storing Plaintiffs’ and Class members’;

                      Failing to maintain reasonable and appropriate oversight and audits on

                       employees, agents, or vendors who were the vectors of the hackers’

                       infiltration into the system(s) storing Plaintiffs’ and Class members’

                       PII/PHI;




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              Failing to implement and maintain reasonable safeguards and procedures,

               such as encryption, to prevent the unauthorized disclosure of Plaintiffs’ and

               Class members’ PII/PHI;

              Failing to monitor and detect its confidential and sensitive data

               environment(s) storing Plaintiffs’ and Class members’ PII/PHI reasonably

               and appropriately in order to repel or limit the Data Breach;

              Failing to implement and maintain reasonable data storage and retention

               procedures with respect to the PII/PHI to ensure the PII/PHI was being

               stored and maintained for legitimate and useful purposes;

              Failing to undertake reasonable and sufficient incident response measures

               to ensure that the cyberattack directed toward Defendant’s sensitive

               information would be thwarted and not expose and cause disclosure and

               unauthorized acquisition of Plaintiffs’ and Class members’ PII/PHI;

              Failing to cure deficiencies in data security that allowed the Data Breach to

               continue, grow in severity and scope, and go undetected and undeterred for

               additional time;

              Failing to ensure that Plaintiffs’ and Class members’ PII/PHI was timely

               deleted, destroyed, rendered unable to be used, or returned to Plaintiffs and

               Class members;

              Failing to reasonably conduct a forensic investigation into the scope, nature,

               and exposure of the Data Breach or to ascertain its full severity;

              Failing to provide full disclosure about, and deceptively misleading

               consumers through false representations and misleading omissions of fact


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                      regarding, the Data Breach, consumers’ risk and exposure caused by the

                      Data Breach, and the adequacy of the investigation of and response to the

                      Data Breach;

                     Failing to provide accurate, complete, and sufficiently detailed notification

                      to Plaintiffs and Class members regarding the circumstances of the Data

                      Breach, its causes, its effects, the extent of the exposure of their PII/PHI,

                      and details regarding the disposition of Plaintiffs’ and the other Class

                      members’ PII/PHI at all times during the Data Breach.

       146.    Defendant failed to timely notify Plaintiffs and Class members that their PII/PHI

was acquired in the Data Breach. Defendant waited 5 months to mail a letter to Plaintiffs and Class

members. Defendant had all the information it needed to disseminate notification to Plaintiffs and

the other Class members on November 18, 2021, when Defendant’s investigation determined that

the Data Breach occurred on or before October 20, 2021. Likely, notification could have been

provided in mere days to all the individuals whose names and information was contained in the

files that were accessed by the criminals. Instead, Defendant delayed notification while cyber

criminals were able to perpetrate fraud with Plaintiffs’ and Class members’ PII/PHI unbeknownst

to them for an additional 5 months after Defendant confirmed the existence of the Data Breach.

       147.    As a proximate result of Defendant’s unfair acts and practices described above and

the resulting injuries to Plaintiffs and Class members, as herein alleged, Plaintiffs and Class

members have incurred damages.

       148.    As a direct and proximate result of Defendant’s unlawful acts and omissions,

Plaintiffs and Class members have suffered actual and concrete injuries and will suffer addition

injuries into the future, including economic and non-economic damages in the following forms:



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(a) invasion of privacy; (b) financial costs incurred mitigating the imminent risk of identity theft;

(c) loss of time and loss of productivity incurred mitigating the imminent risk of identity theft; (d)

loss of time and loss of productivity heeding Defendant’s warnings and following its instructions

in the notice letter; (e) financial costs incurred due to actual identity theft; (f) the cost of future

identity theft monitoring; (g) loss of time incurred due to actual identity theft; (h) loss of time and

annoyance due to increased targeting with phishing attempts and fraudulent robo-calls; and (i) and

diminution of value of their PII/PHI.

          149.   Additionally, as a direct and proximate result of Defendant’s unlawful conduct,

Plaintiffs and Class members have suffered and will suffer the continued risks of exposure of their

PII/PHI, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII/PHI in its continued possession. Plaintiffs and Class members are, therefore, also seeking

injunctive relief for the continued risk to their PII/PHI, which remains in the possession of

Defendant, and which is subject to further breaches, so long as Defendant fails to undertake

appropriate and adequate measures to safeguard the PII/PHI.

          150.   As a direct and proximate result of Defendant’s unlawful conduct, Plaintiffs and

Class members are entitled to recover actual, consequential, punitive damages, as well as

injunctive relief, and reasonable attorney’s fees and costs, pursuant to 815 ILCS 505/10a and 815

ILCS 505/2z.

                                             COUNT V
                     Violation of Illinois Biometric Information Privacy Act
                                 740 ILCS 14/1, et seq. (“BIPA”)
                             (On Behalf of Plaintiffs and the Class)

          151.   Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set forth

herein.

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        152.   Defendant is a “private entity” within the meaning of the Illinois Biometric

Information Privacy Act, 740 ILCS 14/1.

        153.   Defendant collected and stored Plaintiffs’ and Class members private biometric

identifiers.

        154.   Defendant violated 740 ILCS 14/15(d) by failing to obtain consent to the disclosure

of Plaintiffs’ and Class members’ private biometric identifiers and biometric information in the

Data Breach.

        155.   Defendant violated 740 ILCS 14/15(e) by failing to store, transmit, and protect from

disclosure all biometric identifiers and biometric information of Plaintiffs and Class members

using a reasonable standard of care within Defendant’s industry in the Data Breach.

        156.   Defendant’s conduct in violation of the BIPA was negligent, reckless, and

intentional.

        157.   As a proximate result of Defendant’s unfair acts and practices described above and

the resulting injuries to Plaintiffs and Class members, as herein alleged, Plaintiffs and Class

members have incurred damages.

        158.   As a direct and proximate result of Defendant’s unlawful acts and omissions,

Plaintiffs and Class members have suffered actual and concrete injuries and will suffer addition

injuries into the future, including economic and non-economic damages in the following forms:

(a) invasion of privacy; (b) financial costs incurred mitigating the imminent risk of identity theft;

(c) loss of time and loss of productivity incurred mitigating the imminent risk of identity theft; (d)

loss of time and loss of productivity heeding Defendant’s warnings and following its instructions

in the notice letter; (e) financial costs incurred due to actual identity theft; (f) the cost of future

identity theft monitoring; (g) loss of time incurred due to actual identity theft; (h) loss of time and



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annoyance due to increased targeting with phishing attempts and fraudulent robo-calls; and (i) and

diminution of value of their PII/PHI.

          159.   Additionally, as a direct and proximate result of Defendant’s unlawful conduct,

Plaintiffs and Class members have suffered and will suffer the continued risks of exposure of their

PII/PHI, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII/PHI in its continued possession. Plaintiffs and Class members are, therefore, also seeking

injunctive relief for the continued risk to their PII/PHI, which remains in the possession of

Defendant, and which is subject to further breaches, so long as Defendant fails to undertake

appropriate and adequate measures to safeguard the PII/PHI.

          160.   Plaintiffs and Class members seek injunctive and equitable relief; statutory

damages of $1,000 per violation for each of Defendant’s negligent violations of BIPA and $5,000

for each intentional violation of BIPA; and reasonable attorneys’ fees and costs and expenses

pursuant to 740 ILCS 14/20.

                                            COUNT VI
                                       Unjust Enrichment
                               (On Behalf of Plaintiffs and the Class)

          161.   Plaintiffs re-allege and incorporate by reference paragraphs 1–89 as if fully set forth

herein.

          162.   This claim is brought in the alternative to Plaintiffs’ other claims at law.

          163.   Defendant benefited from receiving Plaintiffs’ and Class members’ PII/PHI by its

ability to retain and use that information for its own benefit.




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          164.   Defendant also understood and appreciated that Plaintiffs’ and Class members’

PII/PHI was private and confidential, and its value depended upon Defendant maintaining the

privacy and confidentiality of that information.

          165.   Plaintiffs and Class members conferred a benefit upon Defendant by paying for its

services, and in connection therewith, by providing their PII/PHI to Defendant with the

understanding that Defendant would implement and maintain reasonable data privacy and security

practices and procedures. Plaintiffs and Class members should have received adequate protection

and data security for such PII/PHI held by Defendant.

          166.   Defendant knew Plaintiffs and Class members conferred a benefit which Defendant

accepted. Defendant profited from these transactions and appreciated the benefits.

          167.   Defendant failed to provide reasonable security, safeguards, and protections to the

PII/PHI of Plaintiffs and Class members.

          168.   Defendant should not be permitted to retain money rightfully belonging to Plaintiffs

and Class members, because Defendant failed to implement appropriate data security measures

and caused the Data Breach.

          169.   Defendant accepted and wrongfully retained these benefits to the detriment of

Plaintiffs and Class members.

          170.   Defendant’s enrichment at the expense of Plaintiffs and Class members is and was

unjust.

          171.   As a result of Defendant’s wrongful conduct, as alleged above, Plaintiffs and Class

members seek restitution of their money paid to Defendant, and disgorgement of all profits,

benefits, imposition of a constructive trust, and other compensation obtained by Defendant, plus

attorneys’ fees, costs, and interest thereon.



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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the Class, pray for judgment

against Defendant and in Plaintiffs’ favor, as follows:

               a)      For an Order certifying this action as a Class action and appointing Plaintiffs

                       as Class Representatives and their counsel as Class Counsel;

               b)      For an award of actual damages, compensatory damages, statutory

                       damages, and statutory penalties, in an amount to be determined, as

                       allowable by law;

               c)      For an award of punitive damages, as allowable by law;

               d)      For an award of attorneys’ fees and costs, and any other expense, including

                       expert witness fees;

               e)      For equitable relief enjoining Defendant from engaging in the wrongful

                       conduct complained of herein pertaining to the misuse and/or disclosure of

                       Plaintiffs’ and Class members’ PII/PHI, and from refusing to issue prompt,

                       complete and accurate disclosures to Plaintiffs and Class members;

               f)      For equitable relief compelling Defendant to utilize appropriate methods

                       and policies with respect to consumer data collection, storage, and safety,

                       and to disclose with specificity the type of PII/PHI compromised during the

                       Data Breach;

               g)      For equitable relief requiring restitution and disgorgement of the revenues

                       wrongfully retained as a result of Defendant’s wrongful conduct;

               h)      Imposition of a constructive trust for the benefit of Plaintiffs and Class

                       members;



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         i)      Pre- and post-judgment interest on any amounts awarded; and,

         j)      Such other and further relief as this court may deem just and proper.



                             JURY TRIAL DEMANDED

  Plaintiffs demand a trial by jury on all claims so triable.



                                 Plaintiffs MEYER GELFMAN, BORIS PARAD, and
                                 YELENA PARAD, individually, and on behalf of all
                                 others similarly situated,


                                 By: /s/ Thomas A. Zimmerman, Jr.
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                                        Jeffrey D. Blake
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                                        www.attorneyzim.com

                                 Counsel for Plaintiffs and the Class




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              Illinois Gastroenterology Group, PLLC Provides Notice of a Security Incident

Illinois Gastroenterology Group, PLLC (“IGG”) is providing notice of a recent incident that may affect the
security of certain individuals’ information.

What Happened? On October 22, 2021, IGG discovered unusual activity within its computer network.
IGG immediately launched an investigation, with the assistance of third-party cybersecurity specialists, to
determine the nature and scope of the event. On November 18, 2021, the investigation determined that an
unauthorized actor gained access to certain IGG systems and that information contained in those systems
may have been viewed or taken by the unauthorized actor.

Although there is no indication that identity theft or fraud occurred as a result of this incident, IGG has not
been able to rule out the possible that some individuals’ information was or may have been viewed or taken.
Therefore, in an abundance of caution, IGG reviewed the information contained within the systems to
identify if any individuals’ personal information or protected health information was potentially impacted.
On March 22, 2022, the review determined that certain information related to individuals was or may have
been impacted.

What Information was Involved? The following types of information that IGG maintains in its systems
and that were, or may have been, impacted by this incident include: name, address, date of birth, Social
Security number, driver’s license, Passport, financial account information, payment card information,
employer-assigned identification number, medical information, and biometric data. To date, IGG has not
received any reports of fraudulent misuse of any information potentially impacted.

What is IGG Doing? IGG takes this incident and the security of personal information in its care seriously.
IGG moved quickly to investigate and respond to this incident, assess the security of its systems, and notify
potentially affected individuals. In response to this incident, IGG augmented its policies and procedures
addressing network security. IGG accelerated the implementation of an enhanced managed Security
Operations Center including the deployment of an endpoint detection and response platform in response to
this event with policies enabled specially for ransomware. IGG immediately reset passwords and
employees with privileged access to sensitive systems were enrolled into our multifactor authentication
platform. IGG is also notifying potentially affected individuals so that they may take further steps to protect
their information, should they feel it is appropriate to do so.

What Can Impacted Individuals Do? IGG established a dedicated assistance line for individuals seeking
information regarding this incident. Individuals seeking additional information may call the toll-free
assistance line at 1-833-559-1331. This toll-free number is available Monday through Friday from 9:00
a.m. to 9:00 p.m. Eastern Time, excluding major U.S. holidays. Individuals may also write to IGG at Illinois
Gastroenterology Group, PLLC, Attention: Chief Operating Officer, P.O. Box 7630, Gurnee, IL 60031.

Potentially affected individuals may also consider the information and resources outlined below. IGG
encourages potentially impacted individuals to remain vigilant against identity theft and fraud by reviewing
their account statements, credit reports, and explanation of benefits forms for suspicious activity and to
report any suspicious activity promptly to their bank, financial institution, insurance company, health care
provider, law enforcement, or their state Attorney General.

                      Steps You Can Take To Protect Your Personal Information

Under U.S. law, a consumer is entitled to one free credit report annually from each of the three major credit
reporting bureaus, Equifax, Experian, and TransUnion.              To order a free credit report, visit



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www.annualcreditreport.com or call, toll-free, 1-877-322-8228. Individuals may also directly contact the
three major credit reporting bureaus listed below to request a free copy of their credit report.

Consumers have the right to place an initial or extended “fraud alert” on a credit file at no cost. An initial
fraud alert is a one-year alert that is placed on a consumer’s credit file. Upon seeing a fraud alert display
on a consumer’s credit file, a business is required to take steps to verify the consumer’s identity before
extending new credit. If an individual is the victim of identity theft, they are entitled to an extended fraud
alert, which is a fraud alert lasting seven years. Should they wish to place a fraud alert, they may contact
any one of the three major credit reporting bureaus listed below.

As an alternative to a fraud alert, consumers have the right to place a “credit freeze” on a credit report,
which will prohibit a credit bureau from releasing information in the credit report without the consumer’s
express authorization. The credit freeze is designed to prevent credit, loans, and services from being
approved in an individual’s name without their consent. However, individuals should be aware that using
a credit freeze to take control over who gets access to the personal and financial information in their credit
report may delay, interfere with, or prohibit the timely approval of any subsequent request or application
they make regarding a new loan, credit, mortgage, or any other account involving the extension of credit.
Pursuant to federal law, an individual cannot be charged to place or lift a credit freeze on their credit report.
To request a credit freeze, individuals will need to provide the following information:

    1. Full name (including middle initial, as well as Jr., Sr., II, III, etc.);
    2. Social Security number;
    3. Date of birth;
    4. Addresses for the prior two to five years;
    5. Proof of current address, such as a current utility bill or telephone bill;
    6. A legible photocopy of a government-issued identification card (state driver’s license or ID card,
       etc.); and
    7. A copy of either the police report, investigative report, or complaint to a law enforcement agency
       concerning identity theft if they are a victim of identity theft.

Should individuals wish to place a credit freeze, they may contact the three major credit reporting bureaus
listed below:

 Equifax                                        Experian                       TransUnion
 https://www.equifax.com/personal/credit-                                      https://www.transunion.com/credit-
 report-services/                               https://www.experian.com/help/ help
 1-888-298-0045                                 1-888-397-3742                 1-833-395-6938
 Equifax Fraud Alert, P.O. Box 105069           Experian Fraud Alert, P.O. Box TransUnion Fraud Alert, P.O. Box
 Atlanta, GA 30348-5069                         9554, Allen, TX 75013          2000, Chester, PA 19016
 Equifax Credit Freeze, P.O. Box 105788         Experian Credit Freeze, P.O. TransUnion Credit Freeze, P.O.
 Atlanta, GA 30348-5788                         Box 9554, Allen, TX 75013      Box 160, Woodlyn, PA 19094

Additional Information

Individuals may further educate themselves regarding identity theft, fraud alerts, credit freezes, and the
steps they can take to protect their personal information by contacting the consumer reporting bureaus, the
Federal Trade Commission, or their state Attorney General.

The Federal Trade Commission may be reached at: 600 Pennsylvania Avenue NW, Washington, DC 20580;
www.identitytheft.gov; 1-877-ID-THEFT (1-877-438-4338); and TTY: 1-866-653-4261. The Federal


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Trade Commission also encourages those who discover that their information has been misused to file a
complaint with it. Individuals can obtain further information on how to file such a complaint by way of the
contact information listed above. Individuals have the right to file a police report if they ever experience
identity theft or fraud. Please note that in order to file a report with law enforcement for identity theft,
individuals will likely need to provide some proof that they have been a victim. Instances of known or
suspected identity theft should also be reported to law enforcement and their state Attorney General. This
notice has not been delayed by law enforcement.




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